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                     UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF NEW HAMPSHIRE


United States of America

                v.                           Case No. 10-cr-88-01/02/03-SM

Myles Webster,
Dwayne C. Gousby
and Brittney Indoccio

                                    ORDER

      Defendant Indoccio’s motion to continue the final pretrial conference and

trial is granted (document 40). Trial has been rescheduled for the October 2010

trial period. Defendant Indoccio shall file a waiver of speedy trial rights not

later than July 30, 2010.    On the filing of such waiver, her continuance shall

be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference:      October 8, 2010 at 9:30 a.m.

      Jury Selection: October 19, 2010 at 9:30 a.m.
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      SO ORDERED.



                                  ____________________________
                                    Steven J. McAuliffe
                                    Chief Judge

July 22, 2010

cc:   David Ruoff, Esq.
      Jeffrey Levin, Esq.
      Richard Hubbard, Esq.
      Peter Papps, AUSA
      US Probation
      US Marshal




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